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 9   P.S., a Minor, by and through his Guardian Ad Litem, Aphrodite St. Ores, and
     R.R., a Minor, by and through his Guardian Ad Litem, Araceli Rodriguez
10
11                       UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
     P.S., a Minor, by and through his     Case No.
14   Guardian Ad Litem, APHRODITE          PLAINTIFFS’ COMPLAINT FOR
15   ST. ORES; and R.R., a Minor, by and   DAMAGES
     through his Guardian Ad Litem,
16   ARACELI RODRIGUEZ,                    1. Unreasonable Search and Seizure (42
                                              U.S.C. § 1983)
17                                         2. Excessive Force (42 U.S.C. § 1983)
                 Plaintiffs,               3. Malicious Prosecution (42 U.S.C. § 1983)
18         vs.                             4. Custom, Practice or Policy Causing
19                                            Violation of Civil Rights (42 U.S.C. §
     CITY OF SAN FERNANDO;                    1983)
20   OFFICER SAUL GARIBAY; and             5. Battery (Cal. Govt. Code §§ 815.2(a),
                                              820(a))
21   DOES 1 through 10 inclusive,          6. Negligence (Cal. Govt. Code §§ 815.2(a),
                                              820(a))
22               Defendants.               7. Intentional Infliction of Emotional Distress
23                                            (Cal. Govt. Code §§ 815.2(a), 820(a))
                                           8. Violation of California Bane Act (Cal. Civil
24                                            Code §§ 52 and 52.1; Cal. Govt. Code §§
                                              815.2(a), 820(a))
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                        PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1         Plaintiffs P.S., a Minor, by and through his Guardian Ad Litem,
 2   APHRODITE ST. ORES, and R.R., a Minor, by and through his Guardian Ad
 3   Litem, ARACELI RODRIGUEZ complain of Defendants CITY OF SAN
 4   FERNANDO, OFFICER SAUL GARIBAY and DOES 1 through 10 inclusive, as
 5   follows:
 6                             JURISIDICTION AND VENUE
 7   1.    This Court has original jurisdiction under 28 U.S.C. §§ 1331, 1343 (a)(3)-(4)
 8   because Plaintiffs assert claims arising under the laws of the United States that
 9   include 42 U.S.C. § 1983 and the Fourth and Fourteenth Amendments of the United
10   States Constitution.
11   2.    This court has supplemental jurisdiction over Plaintiffs’ claims arising under
12   state law pursuant to 28 U.S.C. § 1367(a) because those claims are so related to the
13   federal claims that they form part of the same case or controversy under the Article
14   III of the United States Constitution.
15   3.    The venue is proper in the Central District of California pursuant to 28 U.S.C.
16   §§ 1391(b) and (e). This court is proper because Defendants reside in this district
17   and the unlawful actions challenged occurred in this district.
18                          CLAIMS STATUTE REQUIREMENT
19   4.    On or about February 3, 2021, Plaintiffs P.S., a minor, by and through his
20   Guardian Ad Litem, Aphrodite St. Ores, and R.R., a Minor, by and through his
21   Guardian Ad Litem, Araceli Rodriguez, filed timely Governmental Claims for
22   Damages with the City of San Fernando. On or about February 11, 2021, said
23   Claims for Damages were denied by the City of San Fernando.
24                                            PARTIES
25   5.    At all relevant times herein, P.S., a Minor, by and through his Guardian Ad
26   Litem, APHRODITE ST. ORES, (hereinafter referred to as “P.S.” or “Plaintiff”)
27   was and is an individual residing in the City of San Fernando, County of Los
28   Angeles, California.

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 1   6.     At all relevant times herein, APHRODITE ST. ORES was and is an
 2   individual residing in the City of San Fernando, County of Los Angeles, California
 3   and is the natural mother and Guardian Ad Litem of the Plaintiff, P.S.
 4   7.    At all relevant times herein, R.R., a Minor, by and through his Guardian Ad
 5   Litem, ARACELI RODRIGUEZ, (hereinafter referred to as “R.R.” or “Plaintiff”)
 6   was and is an individual residing in the City of San Fernando, County of Los
 7   Angeles, California.
 8   8.     At all relevant times herein, ARACELI RODRIGUEZ was and is an
 9   individual residing in the City of San Fernando, County of Los Angeles, California
10   and is the natural mother and Guardian Ad Litem of the Plaintiff, R.R.
11   9.    At all relevant times herein, the San Fernando Police Department (“SFPD”)
12   was a department of the Defendant CITY OF SAN FERNANDO (“CITY”), a public
13   entity duly organized and existing under the laws of the State of California, and was
14   responsible for the hiring, retaining, training and supervision of the conduct, policies
15   and practices of its employees and agents of the SFPD and all of its members, agents
16   and employees.
17   10.   At all relevant times, Defendant OFFICER SAUL GARIBAY (hereinafter
18   referred to as “Officer Garibay”), individually and as a peace officer, was a duly
19   authorized employee and agent of CITY, who was acting under color of law, within
20   the course and scope of his respective duties as a police officer and within the
21   complete authority and ratification of his principal, Defendant CITY.
22   11.   At all relevant times, Defendant DOES 1-10 (“DOE Officers”), individually
23   and as peace officers, were duly authorized employees and agents of CITY, who
24   were acting under color of law, within the course and scope of their respective
25   duties as police officers and within the complete authority and ratification of their
26   principal, Defendant CITY.
27   12.   In doing the acts and failing and omitting to act as hereinafter described,
28   Defendants, individually and as peace officers, were acting on the implied and

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 1   actual permission and consent of the CITY.
 2   13.   At all times mentioned herein, each and every CITY defendant was the agent
 3   of each and every other CITY defendant and had the legal duty to oversee and
 4   supervise the hiring, conduct and employment of each and every CITY defendant.
 5   14.   Plaintiffs are unaware of the true names and capacities of those Defendants
 6   named herein as DOES 1-10. Plaintiffs are informed and believe, and thereon allege
 7   that these DOES 1-10 are legally responsible and liable for the incident, injuries,
 8   and damages hereinafter set forth, and that each of said Defendants proximately
 9   caused the injuries and damages by reason of negligent, careless, deliberately
10   indifferent, intentional, willful and wanton misconduct, including creating and
11   otherwise causing the incidents, conditions, and circumstances hereinafter set forth,
12   or by reason of direct or imputed negligence or vicarious fault or breach of duty
13   arising out of the matters herein alleged. Plaintiffs will amend this Complaint to set
14   forth said true names and identities of the unknown named DOE Defendants when
15   they are ascertained.
16                           FACTS COMMON TO ALL COUNTS
17   15.   Plaintiffs repeat, reallege, and incorporate by reference paragraphs 1-14 as
18   though set forth in full herein.
19   16.   On or about July 4, 2019 at approximately 10:00 p.m., P.S., R.R., Jonathan
20   Valdivia (“Mr. Valdivia”) and Michael LNU (“Mr. LNU”) (hereinafter collectively
21   referred to as “the group”) went to San Fernando Park, located at 208 Park Avenue
22   in San Fernando, California, to walk Mr. Valdivia’s dog. At the time, R.R. was
23   fourteen years old, P.S. was thirteen years old and Mr. Valdivia, who is R.R.’s older
24   brother, and Mr. LNU were both over the age of twenty-five.
25   17.   Upon arriving at the park, the group observed SFPD Officer Garibay
26   conducting a traffic stop towards the front area of the park. The group passed by
27   Officer Garibay’s patrol vehicle and walked through the park.
28   18.   Soon after, Officer Garibay approached the group in his patrol vehicle and

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 1   asked if they were lighting fireworks. In reply, Mr. Valdivia told Officer Garibay
 2   that they were simply walking his dog and not lighting any fireworks.
 3   19.     Next, Officer Garibay asked the group where they were going and coming
 4   from, and in response Mr. Valdivia asked Officer Garibay if they were being
 5   detained. Officer Garibay said they were not detained, so the group walked away.
 6   20.     Officer Garibay then began closely tailing the group until they cut through the
 7   park.
 8   21.     Shortly after, as the group was walking past the park’s recreation center,
 9   Officer Garibay and DOE Officers 1-3 met the group head on in their SFPD patrol
10   vehicles.
11   22.     The officers ordered the group to sit on the curb, and each group member
12   readily complied.
13   23.     Mr. Valdivia began video-recording the incident with his cellphone. Mr.
14   Valdivia told the officers not to interrogate R.R. or P.S., because they are minors.
15   Mr. Valdivia also told the officers that he is R.R.’s older brother.
16   24.     At that point, Officer Garibay said the officers were going to take R.R. and
17   P.S. into custody because it was after curfew. In reply, Mr. Valdivia told the officers
18   that both R.R. and P.S. had permission from their parents to be out with him.
19   25.     Suddenly Officer Garibay grabbed R.R. as he sat on the curb, and a short
20   struggle ensued.
21   26.     Meanwhile P.S., who was sitting on the curb about a foot away from R.R.,
22   stood up. Immediately thereafter, Officer Garibay grabbed P.S. and told DOE
23   Officer 1 to handcuff R.R.
24   27.     Officer Garibay then pushed P.S. into a gate and violently threw him on the
25   concrete ground. Officer Garibay applied extreme pressure to P.S.’ neck and body
26   and put P.S. in a chokehold. With P.S. lying face-forward on the ground, Officer
27   Garibay forcefully pressed his knees into P.S.’ back and handcuffed both of P.S.’
28   hands behind his back.

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 1   28.     Next, DOE Officers 1 and 2 grabbed R.R. and stood him up. DOE Officer 1
 2   had R.R. in a chokehold, as he, DOE Officer 2 and Officer Garibay violently tackled
 3   R.R. to the ground.
 4   29.     Officer Garibay then directed his attention back to P.S. and forcefully applied
 5   pressure to P.S.’ neck and back with his knees. P.S., who was still prone face-
 6   forward with hands cuffed behind back, begged Officer Garibay to get off of his
 7   neck and screamed, “That’s too hard!” Officer Garibay shrugged and eventually
 8   yanked P.S. up from the ground.
 9   30.     The officers searched P.S. and R.R., put them in the backseat of a patrol
10   vehicle and transported them to the police station.
11   31.     P.S. and R.R. remained in handcuffs at the station for over an hour before
12   being released to their mothers.
13   32.     With knowledge that their reports would be used by the San Fernando City
14   Attorney’s office when deciding to bring criminal charges against P.S. and R.R., the
15   officers then made false statements in their reports to cover the fact that they
16   violated P.S.’ and R.R.’s rights by using excessive force and unlawfully arresting
17   them.
18   33.     The City Attorney filed criminal charges against P.S. and R.R. for resisting
19   arrest and assault on a peace officer based on the officers’ false police reports.
20   During P.S.’ and R.R.’s criminal prosecution, under penalty of perjury, SFPD
21   Officer(s) made further false statements to support the allegations that P.S. and R.R.
22   resisted arrest and assaulted a peace officer. The statements were directly
23   contradicted by indisputable evidence. Accordingly, the judge found P.S. and R.R.
24   not guilty on all charges.
25   34.     As a result of the subject incident, P.S. and R.R. have suffered the following
26   injuries: bruises, scratches, headaches, muscle pain, arm and shoulder pain, wrist
27   pain, neck and back pain, facial pain and loss of liberty.
28   35.     Additionally, as a result of the subject incident, P.S., R.R. and Mr. Valdivia

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 1   have suffered and continue to suffer from severe emotional distress, mental anguish,
 2   depression, anxiety, fear, paranoia and stress.
 3                               FIRST CAUSE OF ACTION
 4                  Unreasonable Search and Seizure (42 U.S.C. § 1983)
 5           (Against Defendants Officer Garibay and DOES 1-10, inclusive)
 6   36.   Plaintiffs incorporate by reference each and every allegation contained in the
 7   foregoing paragraphs, as well as any subsequent paragraphs contained in the
 8   Complaint, as if fully set forth herein.
 9   37.   Defendants, individually and as peace officers, caused Plaintiffs to be
10   detained, arrested and searched in violation of their rights to be secure in their
11   persons against unreasonable searches and seizures as guaranteed to Plaintiffs under
12   the Fourth Amendment to the United States Constitution and applied to state actors
13   by the Fourteenth Amendment.
14   38.   Plaintiffs were detained, arrested and searched without a warrant, reasonable
15   suspicion or probable cause.
16   39.   As a result of Defendant Officers’ aforesaid conduct, Plaintiffs have suffered
17   and continue to suffer from severe emotional distress, mental anguish, depression,
18   anxiety, fear, paranoia and stress.
19   40.   As a result of the conduct of Defendants, individually and as peace officers,
20   they are liable for Plaintiffs’ injuries, either because they were integral participants
21   in the wrongful detentions and arrests, or because they failed to intervene to prevent
22   violations.
23   41.   The conduct of Defendants, individually and as peace officers, was willful,
24   wanton, malicious, and done with reckless disregard for the rights and safety of
25   Plaintiffs and therefore warrants the imposition of exemplary and punitive damages
26   as to Defendants.
27   42.   Plaintiffs seek attorney fees under this claim pursuant to 42 U.S.C. § 1988.
28   ///

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 1                             SECOND CAUSE OF ACTION
 2                            Excessive Force (42 U.S.C. § 1983)
 3           (Against Defendants Officer Garibay and DOES 1-10, inclusive)
 4   43.   Plaintiffs incorporate by reference each and every allegation contained in the
 5   foregoing paragraphs, as well as any subsequent paragraphs contained in the
 6   Complaint, as if fully set forth herein.
 7   44.   Plaintiffs’ right to be secure in their persons against unreasonable searches
 8   and seizures as guaranteed to Plaintiffs under the Fourth Amendment of the United
 9   States Constitution and applied to state actors by the Fourteenth Amendment, was
10   violated when:
11             a. Officer Garibay grabbed P.S., pushed him into a gate and violently
12                 threw him on the concrete ground;
13             b. Officer Garibay applied extreme pressure to P.S.’ neck and body and
14                 put P.S. in a chokehold;
15             c. Officer Garibay forcefully pressed his knees into P.S.’ neck and back
16                 and handcuffed him;
17             d. Defendant Officers brutally grabbed R.R.; and
18             e. DOE Officer 1 put R.R. in a chokehold, as he, DOE Officer 2 and
19                 Officer Garibay violently tackled R.R. to the ground and handcuffed
20                 him.
21   45.   Both prior to and during the time in which the Defendant Officers injured
22   Plaintiffs, Plaintiffs posed no reasonable threat of violence or danger to the
23   Defendant Officers or to any other individual. Furthermore, Plaintiffs made no
24   aggressive movements, furtive actions or physical movements that would have
25   suggested to a reasonable officer that Plaintiffs were armed with any kind of
26   weapon, or had the will or the ability to inflict substantial bodily harm against any
27   individual.
28   46.   Both prior to and during the time in which the Defendant Officers attacked

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 1   and injured Plaintiffs, Plaintiffs did not consent to the use of force used upon them.
 2   Moreover, Plaintiffs acted within their legal right to walk at the park with Mr.
 3   Valdivia and Mr. LNU, at the time they were approached by the Defendant Officers.
 4   47.     As a result of Defendant Officers’ use of excessive force, Plaintiffs suffered
 5   economic damages, as well as bruises, scratches, headaches, muscle pain, arm and
 6   shoulder pain, wrist pain, neck and back pain, facial pain and loss of liberty.
 7   48.     Additionally, as a result of Defendant Officers’ use of excessive force,
 8   Plaintiffs have suffered and continue to suffer from severe emotional distress,
 9   mental anguish, depression, anxiety, fear, paranoia and stress.
10   49.     As a result of the conduct of Defendant Officers, individually and as peace
11   officers, they are liable for Plaintiff’s injuries, either because they were integral
12   participants in the excessive force, or because they failed to intervene to prevent
13   these violations.
14   50.     This use of force was excessive and unreasonable under the circumstances,
15   especially since Plaintiffs had done nothing violent before, during or after being
16   physically attacked by Defendant Officers.
17   51.     The conduct of Defendant Officers was willful, wanton, malicious, and done
18   with reckless disregard for the rights and safety of Plaintiffs and therefore warrants
19   the imposition of exemplary and punitive damages as to Defendant Officers,
20   individually.
21   52.     Plaintiffs also seek attorney fees under this claim pursuant to 42 U.S.C. §
22   1988.
23                               THIRD CAUSE OF ACTION
24                         Malicious Prosecution (42 U.S.C. § 1983)
25             (Against Defendants Officer Garibay and DOES 1-10, inclusive)
26   53.     Plaintiffs incorporate by reference each and every allegation and fact
27   contained in the preceding paragraphs of this complaint as though fully set forth
28   herein.

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  1   54.     Defendant Officers, while acting under color of law, deprived Plaintiffs of
  2   their right to be free from malicious prosecution.
  3   55.     Defendant Officers contributed to, caused, and/or initiated a criminal
  4   prosecution against Plaintiffs with malice and/or with the purpose of depriving
  5   them of their constitutional rights. Defendant Officers did not have probable
  6   cause to arrest or prosecute Plaintiffs for resisting arrest or assault on a peace
  7   officer, and initiated prosecution for the purpose of evading civil liability. The
  8   prosecution ultimately terminated in Plaintiffs’ favor, as they were found not
  9   guilty on all charges. Defendant Officers knew or should have known the initial
10    detention and subsequent arrest of Plaintiffs lacked reasonable suspicion or
11    probable cause, and that Plaintiffs were innocent.
12    56.     Plaintiffs bring this action under federal law. The constitutional source
13    against malicious prosecution is primarily the due process clause of the
14    Fourteenth Amendment, and Plaintiffs’ due process rights were violated by the
15    conduct alleged herein. Plaintiffs bring this claim as both a procedural and
16    substantive due process violation. To the extent that any court were to conclude
17    that the source of Plaintiffs’ right to be free from malicious prosecution is any
18    constitutional source other than due process (such as the Fourth Amendment or
19    Sixth Amendment right to a fair trial), this claim is brought on those bases as
20    well.
21    57.     As a direct and proximate cause of the Defendant Officers’ aforesaid conduct,
22    individually and as a peace officers, Plaintiffs suffered economic damages, as well
23    as bruises, scratches, headaches, muscle pain, arm and shoulder pain, wrist pain,
24    neck and back pain, facial pain and loss of liberty. Additionally, Plaintiffs have
25    suffered and continue to suffer from severe emotional distress, mental anguish,
26    depression, anxiety, fear, paranoia and stress.
27    58.     The conduct of Defendant Officers, individually and as peace officers, was
28    willful, wanton, malicious, and done with reckless disregard for the rights and safety

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  1   of Plaintiffs and therefore warrants the imposition of exemplary and punitive
  2   damages as to each individual Defendant Officer.
  3   59.     Plaintiffs also seek attorney fees under this claim pursuant to 42 U.S.C. §
  4   1988.
  5                              FOURTH CAUSE OF ACTION
  6   Custom, Practice or Policy Causing Violation of Civil Rights (42 U.S.C. § 1983)
  7                                 (Against Defendant CITY)
  8   60.     Plaintiffs incorporates by reference each and every allegation and fact
  9   contained in the preceding paragraphs of this complaint as though fully set forth
10    herein.
11    61.     Defendant CITY is, and at all times herein mentioned has been, a public
12    entity and an incorporated municipality duly authorized and existing as such in and
13    under the laws of the State of California and at all times herein mentioned,
14    Defendant CITY possessed the power and authority to adopt policies and prescribe
15    rules, regulations and practices affecting the operation of the SFPD and its tactics,
16    methods practices, customs and usages.
17    62.     At all times herein mentioned, Defendant Officers and each of them, were
18    employees acting under the CITY’s direction and control, who knowingly and
19    intentionally promulgated, maintained, applied and enforced the continuation of
20    policies, customs, practices and usages in violation of the Fourth and Fourteenth
21    Amendments to the United States Constitution. Said customs, policies, practices and
22    usages at all times herein mentioned required and encouraged the employment,
23    deployment and retention of persons as peace officers, who have demonstrated their
24    brutality, dishonesty, and numerous other serious abuses of their powers as peace
25    deputies for the CITY.
26    63.     The unconstitutional policies, practices or customs promulgated, sanctioned
27    or tolerated by Defendant CITY include, but are not limited to:
28               a. Searching, detaining and/or arresting civilians without proper legal

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  1              justification;
  2           b. Using excessive force against civilians;
  3           c. Physically restraining civilians not reasonably suspected to be
  4              armed and dangerous;
  5           d. Fabricating probable cause and falsifying police reports in order to
  6              subject civilians to false arrest and malicious prosecution;
  7           e. Failing to intervene when fellow officers’ abuse the rights of
  8              civilians;
  9           f. Refusing to competently and impartially investigate allegations of
10               abuse and misconduct alleged to have been committed by CITY and
11               SFPD employees;
12            g. Reprimanding, threatening, intimidating, demoting and firing
13               employees who reported acts of abuse by other CITY and SFPD
14               employees;
15            h. Covering up acts of misconduct and abuse by CITY and SFPD
16               employees and thereby sanctioning a code of silence by and among
17               SFPD Officers;
18            i. Failing to adequately supervise the actions of employees under its
19               control;
20            j. Failing to adequately train, supervise, and control SFPD officers in
21               conducting searches without a warrant, probable cause or
22               reasonable suspicion;
23            k. Failing to adequately train, supervise, and control SFPD officers in
24               making detentions based on reasonable suspicions;
25            l. Failing to adequately train, supervise, and control SFPD officers in
26               making arrests based on probable cause;
27            m. Failing to adequately train, supervise, and control SFPD officers
28               regarding uses of force;

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  1            n. Refusing to adequately discipline individual employees found to
  2               have committed similar acts of dishonesty and misconduct; and
  3            o. Tacitly condoning and encouraging use of excessive force on
  4               civilians.
  5   64.   Defendant CITY’s misconduct alleged herein is part of a practice and pattern
  6   of the CITY’s unlawful mistreatment and criminalization of Hispanic males.
  7   65.   The following list exemplifies the aforementioned policies, customs, practices
  8   and usages of Defendants CITY, vis-à-vis its police department:
  9            a. In December 2018, Maria Garcia filed a lawsuit against the CITY for
10                excessive force, illegal search and seizure, battery and negligence, as a
11                result of SFPD officers’ unlawful killing of her son. According to the
12                complaint, SFPD had previous contact with the decedent and had
13                documented reports of his mental illness. Nonetheless, SFPD officers
14                discharged multiple shots at the decedent, within three seconds of
15                entering his apartment. According to the complaint, there was no
16                evidence of any weapon being used by the decedent at the time he was
17                shot and killed.
18             b. In December 2016, Armando Sandoval filed a lawsuit against the CITY
19                and SFPD alleging false arrest, battery and violation of his rights under
20                the Bane Act, among other claims. Sandoval’s complaint alleged SFPD
21                was aware of his political activism related to shedding light on the
22                SFPD Chief of Police’s financial interest in the CITY’s contracted
23                towing company and formed a conspiracy to retaliate against him for
24                that activity in conscious disregard of his rights and safety. According
25                to the complaint, as part of an ongoing plan and pattern of retaliation
26                against Sandoval, SFPD officers intentionally harassed and intimidated
27                Sandoval whenever possible, including by detaining and arresting him
28                without cause on April 28, 2015 and unlawfully confiscating his valid

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  1                       California driver’s license.
  2                  c. In December 2015, Rosa Castro filed a lawsuit against the CITY and
  3                       SFPD for unreasonable search and seizure, negligence, intentional
  4                       infliction of emotion distress, as well as violation of rights under the
  5                       Bane Act, Monell1 and Fourteenth Amendment, among other claims.
  6                       Castro alleged SFPD officers unlawfully arrested her when responding
  7                       to a possible domestic dispute. Castro further alleged that after
  8                       transporting her to the station, the arresting officers demanded that she
  9                       expose her breasts and genitals and then took photographs, despite the
10                        fact doing so was not necessary or related to any investigation or
11                        charge of domestic violence.
12                   d. In March 2015, Rebecca Lopez and Jose Lopez filed a lawsuit against
13                        the CITY for SFPD officers’ unlawful killing of their son. The
14                        complaint included claims for excessive force, intentional infliction of
15                        emotional distress and violations of decedent’s rights under Monell2
16                        and the Bane Act, among other claims. According to the complaint, at
17                        no point did the decedent pose any reasonable threat of violence to the
18                        officers or to any individual.
19                   e. In 2013, the CITY agreed to pay SFPD Sergeant Nichole Hanchett
20                        $800,000 to settle a lawsuit wherein she asserted claims for retaliation
21                        and gender discrimination. Hanchett’s lawsuit indicated a pattern of
22                        internal review within the department and practice of officers covering
23                        up for each other. Hanchett’s lawsuit further alleged the CITY contracts
24                        with an investigation company that will give the CITY their desired
25                        outcome. The complaint referenced an incident involving Everardo
26                        Jaramillo Reynaga, an inmate at the CITY’s jail, who according the
27
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          Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978).
28    2
          Id.

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  1                SFPD officers, committed suicide on June 11, 2011, by constructing a
  2                noose from bedsheets in his cell, hanging himself from the ceiling of
  3                his jail cell. Ultimately, Reynaga’s death was ruled a suicide.
  4                Hanchett’s lawsuit, however, claimed Reynaga was not checked on, per
  5                department policy, and the jail logbook was falsified to make it appear
  6                that proper checks were conducted. No action was taken against the
  7                officer involved in falsifying the jail log, according to the lawsuit.
  8   66.   On information and belief, Defendant Officers attended training programs
  9   related to use of force prior to the incident with Plaintiffs.
10    67.   On information and belief, Defendant Officers attended training programs
11    related to investigation of crimes and lawful searches and seizures prior to the
12    incident with Plaintiffs.
13    68.   Despite Defendant Officers receiving training that was designed to prevent
14    the conduct described in this Complaint, Defendant Officers violated Plaintiffs’
15    constitutional rights as described in this Complaint.
16    69.   Prior to the incident, Defendant CITY knew that its training program was
17    insufficient to prevent the type of civil rights violations Plaintiffs suffered but did
18    nothing to prevent said misconduct. Defendant CITY had knowledge, prior to and
19    since this incident, of similar allegations of illegal searches and seizures, wrongful
20    battery, dishonesty and improper tactics, and corruption by SFPD employees,
21    including the individual Defendants herein, and refused, with deliberate
22    indifference, to enforce or establish administrative procedures to ensure public
23    safety and the protection of civilians’ rights.
24    70.   The aforesaid policies, customs, practices and usages described in this
25    Complaint were the moving force that caused Plaintiffs to be subjected to the
26    unconstitutional acts of Defendant Officers on July 4, 2019.
27    71.   By reason of the aforesaid policies, customs, practices and usages, Plaintiffs’
28    rights under the Fourth and Fourteenth Amendments to the United States

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  1   Constitution were violated.
  2                               FIFTH CAUSE OF ACTION
  3                       Battery (Cal. Govt. Code §§ 815.2(a), 820(a))
  4                                 (Against all Defendants)
  5   72.   Plaintiffs incorporate by reference each and every allegation contained in the
  6   foregoing paragraphs, as well as any subsequent paragraphs contained in the
  7   Complaint, as if fully set forth herein.
  8   73.   Defendant Officers, individually and as a peace officers, while working as a
  9   police officers for the SFPD, and acting within the course and scope of their duties,
10    battered Plaintiffs when:
11              a. Officer Garibay grabbed P.S., pushed him into a gate and violently
12                 threw him on the concrete ground;
13              b. Officer Garibay applied extreme pressure to P.S.’ neck and body and
14                 put P.S. in a chokehold;
15              c. Officer Garibay forcefully pressed his knees into P.S.’ neck and back
16                 and handcuffed him;
17              d. Defendant Officers brutally grabbed R.R.; and
18              e. DOE Officer 1 put R.R. in a chokehold, as he, DOE Officer 2 and
19                 Officer Garibay violently tackled R.R. to the ground and handcuffed
20                 him.
21    74.   Both prior to and during the time in which P.S. and R.R. were battered, P.S.
22    and R.R. did not commit a crime, were not armed with any kind of weapon and
23    posed no reasonable threat of violence to the Defendant Officers, nor to any other
24    individual. When they were attacked, as described herein, Plaintiffs made no
25    aggressive movements, no furtive gestures, and no physical movements which
26    would suggest to a reasonable officer that either of them had the will or ability to
27    inflict bodily harm against any individual.
28    75.   As a direct and proximate cause of the Defendant Officers’ aforesaid conduct,

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  1   individually and as a peace officers, Plaintiffs suffered economic damages, as well
  2   as bruises, scratches, headaches, muscle pain, arm and shoulder pain, wrist pain,
  3   neck and back pain, facial pain and loss of liberty. Additionally, Plaintiffs have
  4   suffered and continue to suffer from severe emotional distress, mental anguish,
  5   depression, anxiety, fear, paranoia and stress.
  6   76.    As a result of their conduct, Defendants are liable for Plaintiffs’ injuries,
  7   either because they were integral participants in the misconduct, or because they
  8   failed to intervene to prevent these violations.
  9   77.    CITY is vicariously liable for the wrongful acts of Defendant Officers, as
10    peace officers, pursuant to Section 815.2(a) of the California Government Code,
11    which provides that a public entity is liable for injuries caused by its employees
12    within the scope of their employment if the employee’s act would subject him or her
13    to liability.
14    78.    The conduct of Defendant Officers was malicious, wanton, oppressive, and
15    accomplished with a conscious disregard for the rights of Plaintiffs, entitling
16    Plaintiffs to an award of exemplary and punitive damages as to each individual
17    Defendant.
18                                SIXTH CAUSE OF ACTION
19                      Negligence (Cal. Govt. Code §§ 815.2(a), 820(a))
20                                   (Against all Defendants)
21    79.    Plaintiffs incorporate by reference each and every allegation contained in the
22    foregoing paragraphs, as well as any subsequent paragraphs contained in the
23    Complaint, as if fully set forth herein.
24    80.    Plaintiffs are informed and believe and thereupon allege that Defendant
25    Officers, and each of them, failed to exercise reasonable and ordinary care in
26    committing the acts alleged herein, by actions and inactions which include, but are
27    not limited to, negligently detaining, handcuffing and arresting Plaintiffs without
28    reasonable suspicion or probable cause to believe that Plaintiffs had or were

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  1   committing a crime, negligently using excessive and unreasonable physical force
  2   against Plaintiffs, when the same was unnecessary and unjustified, negligently
  3   searching Plaintiffs without reasonable suspicion or probable cause to believe
  4   Plaintiffs were armed or dangerous, negligently failing to intercede when fellow
  5   Defendant Officers violated Plaintiffs’ constitutional rights, as well as negligently
  6   supervising, training and disciplining subordinate officers. All of these negligent
  7   acts proximately caused severe injuries to Plaintiffs, as described herein.
  8   81.    As a direct and proximate cause of the Defendant Officers’ aforesaid conduct,
  9   individually and as a peace officers, Plaintiffs suffered economic damages, as well
10    as bruises, scratches, headaches, muscle pain, arm and shoulder pain, wrist pain,
11    neck and back pain, facial pain and loss of liberty. Additionally, Plaintiffs have
12    suffered and continue to suffer from severe emotional distress, mental anguish,
13    depression, anxiety, fear, paranoia and stress.
14    82.    CITY is vicariously liable for the wrongful acts of Defendant Officers, as
15    peace officers, pursuant to Section 815.2(a) of the California Government Code,
16    which provides that a public entity is liable for injuries caused by its employees
17    within the scope of their employment if the employee’s act would subject him or her
18    to liability.
19    83.    The conduct of Defendant Officers was malicious, wanton, oppressive, and
20    accomplished with a conscious disregard for the rights of Plaintiffs, entitling
21    Plaintiffs to an award of exemplary and punitive damages as to each individual
22    Defendant.
23                             SEVENTH CAUSE OF ACTION
24    Intentional Infliction of Emotional Distress (Cal. Govt. Code §§ 815.2(a), 820(a))
25                                  (Against all Defendants)
26    84. Plaintiffs incorporate by reference and realleges each allegation contained in
27    the preceding paragraphs of this Complaint as if fully set forth herein.
28    85. Defendant Officers’ actions and inactions detailed above, including but not

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  1   limited to, unjustifiably searching and seizing Plaintiffs, using excessive force
  2   against Plaintiffs, falsifying police reports and subjecting Plaintiffs to malicious
  3   prosecution, were done either with the intent to cause emotional distress or with
  4   reckless disregard of the probability of causing such emotional distress.
  5   86.    As a direct and proximate cause of the Defendant Officers’ aforesaid conduct,
  6   individually and as a peace officers, Plaintiffs have suffered and continue to suffer
  7   from severe emotional distress, mental anguish, depression, anxiety, fear, paranoia
  8   and stress. Defendant Officers’ conduct was a substantial factor in causing
  9   Plaintiffs’ severe emotional distress.
10    87. As a result of their conduct, Defendants are liable for Plaintiffs’ injuries, either
11    because they were integral participants in the misconduct, or because they failed to
12    intervene to prevent these violations.
13    88.    CITY is vicariously liable for the wrongful acts of Defendant Officers, as
14    peace officers, pursuant to Section 815.2(a) of the California Government Code,
15    which provides that a public entity is liable for injuries caused by its employees
16    within the scope of their employment if the employee’s act would subject him or her
17    to liability.
18    89.    The conduct of Defendant Officers was malicious, wanton, oppressive, and
19    accomplished with a conscious disregard for the rights of Plaintiffs, entitling
20    Plaintiffs to an award of exemplary and punitive damages as to each individual
21    Defendant.
22                             EIGHTH CAUSE OF ACTION
23                Violation of the Bane Act (Cal. Civil Code §§ 52 and 52.1;
24                           Cal. Govt. Code §§ 815.2(a), 820(a))
25                                 (Against all Defendants)
26    90.    Plaintiffs incorporate by reference each and every allegation and fact
27    contained in the preceding paragraphs of this complaint as though fully set forth
28    herein.

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  1   91.    As alleged herein, Defendant Officers intentionally interfered, by way of
  2   intimidation and coercion, with Plaintiffs’ rights under state and federal laws and
  3   under the state and federal constitutions including, without limitation, their rights to
  4   be free from unreasonable searches and seizures, their rights to due process, and
  5   their rights to bodily integrity, including rights under the Fourth and Fourteenth
  6   Amendments to the United States Constitution, and rights under Article 1, Sections
  7   1, 7 and/or 13 of the California Constitution.
  8   92.    As a direct and proximate cause of the Defendant Officers’ aforesaid conduct,
  9   individually and as a peace officers, Plaintiffs suffered economic damages, as well
10    as bruises, scratches, headaches, muscle pain, arm and shoulder pain, wrist pain,
11    neck and back pain, facial pain and loss of liberty. Additionally, Plaintiffs have
12    suffered and continue to suffer from severe emotional distress, mental anguish,
13    depression, anxiety, fear, paranoia and stress.
14    93.    As a result of their conduct, Defendants are liable for Plaintiffs’ injuries,
15    either because they were integral participants in the misconduct, or because they
16    failed to intervene to prevent these violations.
17    94.    CITY is vicariously liable for the wrongful acts of Defendant Officers, as
18    peace officers, pursuant to Section 815.2(a) of the California Government Code,
19    which provides that a public entity is liable for injuries caused by its employees
20    within the scope of their employment if the employee’s act would subject him or her
21    to liability.
22    95.    The conduct of Defendant Officers was malicious, wanton, oppressive, and
23    accomplished with a conscious disregard for the rights of Plaintiffs, entitling
24    Plaintiffs to an award of exemplary and punitive damages as to each individual
25    Defendant.
26    96.    Plaintiffs seek statutory damages under California Civil Code §52.1(i), as
27    well as compensatory and punitive damages according to proof.
28    ///

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  1                                PRAYER FOR RELIEF
  2             WHEREFORE, Plaintiffs request relief as hereinafter provided.
  3   1.    For compensatory (or general) damages in an amount to be proven at trial;
  4   2.    For punitive damages against the individual defendants in an amount to be
  5   proven at trial;
  6   3.    For prejudgment interest;
  7   4.    For an award of special damages in the amount to be proven at trial;
  8   5.    For reasonable costs of this suit incurred herein;
  9   6.    For reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988 & Civ. Code §
10    52.1(i) and costs as provided by law; and
11    7.    For such further other relief as the Court may deem just, proper and
12    appropriate.
13
14
15
16    Dated: June 16, 2021                   PLC LAW GROUP, APC

17
                                                       /s/ Lauren K. McRae
18                                                     Peter L. Carr, IV
19                                                     Na’Shaun L. Neal
                                                       Lauren K. McRae
20                                                     Attorneys for Plaintiffs P.S., a Minor,
21                                                     by and through his Guardian Ad Litem,
                                                       Aphrodite St. Ores, and R.R., a Minor,
22                                                     by and through his Guardian Ad Litem,
23                                                     Araceli Rodriguez

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  1
                               DEMAND FOR JURY TRIAL
  2
            Plaintiffs hereby respectfully demand a trial by jury on all issues and claims.
  3
  4
  5
      Dated: June 16, 2021                           PLC LAW GROUP, APC
  6
  7                                                  /s/ Lauren K. McRae
  8                                                  Peter L. Carr, IV
                                                     Na’Shaun L. Neal
  9                                                  Lauren K. McRae
10                                                   Attorneys for Plaintiffs P.S., a Minor,
                                                     by and through his Guardian Ad Litem,
11                                                   Aphrodite St. Ores, and R.R., a Minor,
12                                                   by and through his Guardian Ad Litem,
                                                     Araceli Rodriguez
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